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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 KALOMA CARDWELL,

                              Plaintiff,
        v.
                                                     19 Civ. 10256 (GHW)
 DAVIS POLK & WARDWELL LLP,
 THOMAS REID, JOHN BICK, WILLIAM
 CHUDD, SOPHIA HUDSON, HAROLD
 BIRNBAUM, DANIEL BRASS, BRIAN
 WOLFE, and JOHN BUTLER,

                              Defendants.




                            NOTICE OF DEFENDANTS’
                     MOTION FOR ATTORNEYS’ FEES AND COSTS

              Please take notice that defendants Davis Polk & Wardwell LLP, John Bick, Harold

Birnbaum, Daniel Brass, John Butler, William Chudd, Sophia Hudson, Thomas Reid, and Brian

Wolfe will move before the Honorable Gregory H. Woods, at the United States Courthouse, 500

Pearl Street, New York, New York 10007, at a date and time to be determined by the Court, for an

order pursuant to Federal Rule of Civil Procedure 37 awarding fees and costs.




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              A memorandum of law and the Declaration of Susanna Buergel support this motion

and are filed contemporaneously herewith.




Dated:        January 20, 2021
              New York, New York

                                    Respectfully submitted,


                                    P AUL, WEISS, RIFKIND, WHARTON & GARRISON LLP


                                    By: /s/ Bruce Birenboim
                                      Bruce Birenboim
                                      Jeh C. Johnson
                                      Susanna Buergel
                                      Marissa C.M. Doran

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                                    Attorneys for Defendants




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